Helen Krusko Harsaghy, Formerly Known as Helen Krusko, Petitioner, v. Commissioner of Internal Revenue, RespondentHarsaghy v. CommissionerDocket No. 111263United States Tax Court2 T.C. 484; 1943 U.S. Tax Ct. LEXIS 95; July 30, 1943, Promulgated *95 Decision will be entered for petitioner.  The cost of bedside uniforms and accessories and the laundering thereof to a graduate nurse engaged in private duty nursing is deductible from gross income under section 23 (a) (1) of the Internal Revenue Code.  D. B. Chase, Esq., for the petitioner.W. G. Ruymann, Esq., for the respondent.  Hill, Judge.  HILL *484  This proceeding involves a deficiency in income tax for the calendar year 1940.  The asserted deficiency of $ 11.81 has been reduced to $ 8.75 through respondent's concession with respect to the deductibility of the cost of telephone service.  The sole question for decision is whether petitioner, a graduate nurse, may deduct the cost of her bedside uniforms and the laundering thereof.The tax return was filed with the collector of internal revenue for the fourteenth district of New York.FINDINGS OF FACT.Petitioner is an individual, residing in Yonkers, New York.  Throughout the year 1940, she was a graduate nurse on private duty attending a single patient. She was employed each day from 8 p. m. to 8 a. m.*485  From her 1940 income petitioner deducted $ 71.84, being the actual cost of 8 bedside uniforms, *96  36 pairs of stockings, 3 pairs of shoes, and 6 caps.  All of these articles were white in color. The uniforms were simple in design, made of material easily washable and lasted from six months to a year.  Petitioner also deducted $ 145.60 as the actual cost of laundering 7 uniforms per week for 52 weeks.Custom and usage of the nursing profession prevents the use of the white bedside uniform by the nurse when off duty. This prohibition arises not only from tradition and ethics but also from the aseptic principle.  A nurse should not attend a patient in a dress or uniform which has been subjected to wear outside the sick room or hospital.Petitioner did not wear uniforms while off duty or in going to or from her patient's residence.  As a private duty nurse, it was necessary for her to bear the expense of laundering her uniforms.OPINION.The sole question is whether petitioner is entitled to deduct from her gross income earned as a nurse the cost of bedside uniforms and the laundering thereof.  Petitioner claims their deductibility under section 23 (a) (1) of the Internal Revenue Code as ordinary and necessary business expenses, or, in the alternative, under section 23 (a) (2) of*97  the Internal Revenue Code as ordinary and necessary expenses paid in connection with the production of income.  The latter provision was added by section 121 of the Revenue Act of 1942 and is made retroactive to cover the calendar year 1940.  Respondent contends that the amounts so expended by petitioner are personal expenses and, accordingly, nondeductible under section 24 (a) (1) of the Internal Revenue Code.We recently considered a similar question in the case of Eleanor E. Meier, 2 T.C. 458"&gt;2 T.C. 458. That case involved like uniforms and accessories purchased by a nurse employed in a tuberculosis hospital.  The evidence there presented showed that the taxpayer was required to purchase the uniforms as a condition of her employment, that she wore them only while on active duty, and that she could wear her uniform for no other purpose because of the communicable nature of tuberculosis. Under these circumstances we held the cost of uniforms deductible as an ordinary and necessary business expense. In the instant case petitioner was a graduate nurse engaged in private duty nursing. The uniforms served as a mark of her profession and were necessary in the care*98  of her patient from an aseptic standpoint.  Petitioner was not connected with a hospital and it was incumbent upon her to purchase and launder her uniforms at her own expense.  Moreover, she wore her uniforms only when on active duty. Our *486  decision is to be governed by the Meier case unless it appears that here the uniforms were adaptable to general and continued wear to the extent that they replaced petitioner's regular clothing.Petitioner's bedside uniform and accessories consist of a simple white dress, white shoes, white stockings and cap, and suffice as wearing apparel so far as bodily comfort is concerned, but it does not thereby follow that such uniform replaces clothing regularly worn by her when not on duty as a nurse. In this country, at least, we have come to regard clothing as constituting more than a mere covering for the human body.  Especially among women, the suitability of raiment depends on such matters as style, color, and material.  Women outside the nursing profession would hardly consider a nurse's uniform and accessories as incorporating such qualities as would make them either practical or desirable for any purpose, much less general and continued*99  wear. When off duty, petitioner should be expected to dress no differently than her contemporaries without the profession.Moreover, custom, usage, tradition, and ethics prevent petitioner from wearing her bedside uniforms except when taking care of patients. Petitioner's failure to conform to regulations so established not only would be disrespectful of the precepts of her profession but might jeopardize her opportunities for employment.Finally, the welfare of the patient calls for cleanliness and sanitation with respect to the clothing of those attending him.  This requires the ascepticizing of petitioner's uniforms and demands the wearing of a fresh outfit each day, unsoiled by contact with the outside world.In view of these circumstances, we are unable to say that petitioner's uniforms are adaptable to general and continued wear to the extent that they replace her regular clothing. The case of Eleanor E. Meier, supra, is followed.  We hold the cost of petitioner's bedside uniforms and accessories to be deductible under section 23 (a) (1) of the Internal Revenue Code.Daily laundering was necessary to properly asepticize the uniforms used in *100  petitioner's profession of nursing. Accordingly, we think it clear that the cost thereof constitutes ordinary and necessary business expense within the meaning of section 23 (a) (1) of the Internal Revenue Code.Our conclusions are supported by the recent case of Marcus O. Benson, 2 T.C. 12"&gt;2 T.C. 12, wherein a traffic officer was allowed to deduct the cost of his uniform and expenses in keeping it clean and in repair.Decision will be entered for petitioner.  